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 1   Dena C. Sharp (SBN 245869)              Michael P. Lehmann (SBN 77152)
     Scott Grzenczyk (SBN 279309)            Christopher L. Lebsock (SBN 184546)
 2   Kyle P. Quackenbush (SBN 322401)        Kyle G. Bates (SBN 299114)
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 9   Interim Co-Lead Counsel and Proposed
     Settlement Class Counsel
10

11

12

13                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
14                             SAN FRANCISCO DIVISION
15
                                              Case No. 3:20-cv-03131 JSC
16
     IN RE CALIFORNIA GASOLINE SPOT           SETTLEMENT CLASS
17                                            REPRESENTATIVES’ STATEMENT
     MARKET ANTITRUST LITIGATION              UPDATING THE COURT ON THE
18                                            STATUS OF DEFENDANTS’
                                              SETTLEMENT WITH THE CALIFORNIA
19                                            ATTORNEY GENERAL

20                                            Judge:       Hon. Jacqueline Scott Corley
                                              Date:        August 8, 2024
21                                            Time:        10:00 a.m. PST
                                              Courtroom:   08, 19th Floor
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                                                              Case No. 3:20-cv-03131 JSC
     SETTLEMENT CLASS REPRESENTATIVES’ STATEMENT UPDATING THE COURT ON THE STATUS OF
             DEFENDANTS’ SETTLEMENT WITH THE CALIFORNIA ATTORNEY GENERAL
       Case 3:20-cv-03131-JSC Document 607 Filed 07/29/24 Page 2 of 3



 1          In their Reply in Support of Settlement Class Representatives’ Motion for Preliminary

 2   Approval of Class Action Settlement, Settlement Class Representatives noted that an August 2,

 3   2024 hearing had been set to assess the settlement between the California Attorney General and

 4   defendants Vitol Inc., SK Energy Americas Inc., and SK Trading International Co. Ltd. and

 5   approve the proposed notice plan in The People of the State of California v. Vitol Inc. et al, Case

 6   No. CGC-20-584456 (the “People’s Action”). ECF No. 606. Settlement Class Representatives

 7   advised the Court that they would “continue to keep the Court updated on developments in the

 8   People’s Action.” Id.

 9          After Settlement Class Representatives filed the Reply, the August 2 hearing in the

10   People’s Action was continued to August 9, 2024, at 9:00 a.m. PST—one day after the hearing on

11   preliminary approval that was automatically set by this Court for August 8 at 10:00 a.m. Counsel

12   for Settlement Class Representatives are prepared to proceed before this Court on August 8 or as

13   soon thereafter as is convenient for the Court.

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                                                       1                    Case No. 3:20-cv-03131 JSC
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       Case 3:20-cv-03131-JSC Document 607 Filed 07/29/24 Page 3 of 3



 1   Dated: July 29, 2024                            Respectfully Submitted,
 2

 3                                                   By: /s/ Dena C. Sharp
                                                     Dena C. Sharp (SBN 245869)
 4                                                   Scott Grzenczyk (SBN 279309)
                                                     Kyle P. Quackenbush (SBN 322401)
 5                                                   Mikaela M. Bock (SBN 335089)
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11                                                   By: /s/ Christopher L. Lebsock
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12                                                   Christopher L. Lebsock (SBN 184546)
                                                     Kyle G. Bates (SBN 299114)
13                                                   Tae Kim (SBN 331362)
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                                                     sderksen@hausfeld.com
19
                                                     Interim Co-Lead Counsel and Proposed Settlement
20                                                   Class Counsel
21

22                                      FILER’S ATTESTATION
23          I, Dena C. Sharp, am the ECF User whose ID and password are being used to file this
24   document. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that all counsel listed above
25   have concurred in this filing.
26
                                                     By: /s/ Dena C. Sharp
27                                                   Dena C. Sharp

28
                                                       2                   Case No. 3:20-cv-03131 JSC
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